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AO 93 (Rev 11/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                             for the
                                                                  District of Connecticut

                  In the Matter of the Search of                                )
              (Briefly describe the property to be searched                     )
               or identify the person by name and address)                      )      Case No.
             Information associated with Facebook user                          )
               IOs 1851605303 and 100042222456800                               )
                                                                                )

                                                   SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the   _ _ _ _ _ _ _ _ District of                        Connecticut
(identify the person or describe the property to be searched and give its location):

      Information associated with Facebook user 1Ds1851605303 and 100042222456800, which is stored at Facebook, Inc., as
      described in Attachment A, which is expressly incorporated herein.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or dcl'Gl'l_bu the pre ~ ·1,v lo be seized):

      Evidence, fruits and instrumentalities of a crime as described ·                              In Attachment B, which is expressly
      incorporated herein.




         YOU ARE COMMANDED to execute this warrant on or before                  November 20, 2019        (not to exceed 14 days)
       0 in the daytime 6:00 a.m. to 10:00 p.m. gf' at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                    Hon. Sarah A. L. Merriam
                                                                                                    (United States Magistrate Judge)

     0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     0 for         days (not to exceed 30) 0 until, the facts justifying, the later specific date of


Date and time issued:         (p U:U2Q         ~     I R~ 11 p't/\-                               /s/ Sarah A. L. Merriam, USMJ
                                                                                                            Judge 's signature     --=::::::.....--
City and state:             New Haven, Connecticut                                                    Hon. Sarah A. L. Merriam
                                                                                                                             - - - - -----
                                                                                                          Printed name and title
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                                                                    Return
CaseNo.: QGJ\t,Ar->~                     Date and time warrant executed:        Copy of warrant and inventory left with:
    3:19-mj==-1498 ~ ,
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                       Executing officer's signature


                                                                                          Printed name and title
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                                     ATTACHMENT A

       This warrant applies to information associated with Facebook user ID 1851605303 and

Facebook user ID 100042222456800, which is stored at premises owned, maintained, controlled,

or operated by Facebook Inc., a company headquartered in Menlo Park, California.




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                                       ATTACHMENT B

                                 Particular Things to be Seized

I.     Information to be disclosed by Facebook

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook Inc. ("Facebook"), regardless of whether such information is

located within or outside of the United States, including any messages, records, files, logs, or

information that have been deleted but are still available to Facebook, or have been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the

following info1mation to the government for each user ID listed in Attachment A for the limited

timeframe of January 1, 2018, to the present:

       (a)     All contact and personal identifying information, including full name, user

               identification number, birth date, gender, contact e-mail addresses, physical

               address (including city, state, and zip code), telephone numbers, screen names,

               websites, and other personal identifiers;

       (b)     All activity logs for the account and all other documents showing the user's posts

               and other Facebook activities;

       (c)     All photos and videos uploaded by that user ID and all photos and videos

               uploaded by any user that have that user tagged in them, including Exchangeable

             --Image-File-{'--~R-XlF-"}dataand-any -othermetadata associated-withthosephotos--- --------- --

               and videos;

       (d)     All profile information; News Feed information; status updates; videos,

               photographs, articles, and other items; Notes; Wall postings; friend lists, including

              the friends' Facebook user identification numbers; groups and networks of which




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       the user is a member, including the groups' Facebook group identification

       numbers; future and past event postings; rejected "Friend" requests; comments;

       gifts; pokes; tags; and information about the user's access and use of Facebook

       applications;

(e)    All records or other information regarding the devices and internet browsers

       associated with, or used in connection with, that user ID, including the hardware

       model, operating system version, unique device identifiers, mobile network

       information, and user agent string;

(f)    All other records and contents of communications and messages made or received

       by the user, including all Messenger activity, private messages, chat history, video

       and voice calling history, and pending "Friend" requests;

(g)    All "check ins" and other location information;

(h)    All IP logs, including all records of the IP addresses that logged into the account;

(i)    All records of the account's usage of the "Like" feature, including all Facebook

       posts and all non-Facebook webpages and content that the user has "liked";

G)     All information about the Facebook pages that the account is or was a "fan" of;

(k)    All past and present lists of friends created by the account;

(1)    All records ofFacebook searches performed by the account;

-(m)   All information-about the user's-access and use ofFacebookMarketplace; ---

(n)    The types of service utilized by the user;

(o)    The length of service (including start date) and the means and source of any

       payments associated with the service (including any credit card or bank account

       number);
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        (p)     All privacy settings and other account settings, including privacy settings for

                individual Facebook posts and activities, and all records showing which Facebook

                users have been blocked by the account;

        (q)     All records pertaining to communications between Facebook and any person

                regarding the user or the user's Facebook account, including contacts with support

                services and records of actions taken.



        Facebook is hereby ordered to disclose the above information to the government within

14 DAYS of issuance of this warrant.

        This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence,

fruits, and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.

II.     Information to be seized by the government

      --All-information -described abov-e-in -SectionLthat _constitutes fruits, contraband,_evidence,-~~------···-- ___ __

and instrumentalities of offenses involving an attempt to provide material support and resources

to a foreign-terrorist organization, in violation of 18 U .S.C. § 2339B, involving the user of the

account, and occurring from January 1, 2018, to the present, for each account or identifier listed

on Attachment A, information referring, relating, or pertaining to the following:
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       a. Any photographs, videos, or other infom1ation referring or relating to

              firearms, or any weapons;

       b. Any communications, or other information, referring or relating to

              firearms, or any weapons;

       c. Any information regarding any designated foreign-terrorist organization,

              including any information regarding the attempted provision of material

              support or resources to a foreign-terrorist organization;

       d. Any information (including private messaging) referring or relating to

              ISIS, or other terms associated with foreign-terrorist organizations;

       e. The identities of individuals engaged, or otherwise involved, in attempting

              to provide material support or resources to a foreign-terrorist organization,

       f.     The identifying and contact information of individuals engaged, or

              otherwise involved, in attempting to provide material support or resources

              to a foreign-terrorist organization;

       g. The timing of communications among individuals engaged, or otherwise

              involved, in attempting to provide material support or resources to a

              foreign-terrorist organization;

       h. The methods and techniques used in attempting to provide material

            ... support or-resources to-a foreign-terrorist--0rganization;--

       1.     Arrangements for travel and meetings;

       J.     The distribution of videos and photographs evidencing the work,

              accomplishments, or propaganda of a foreign-terrorist organization;

       k. The recruitment of supporters and financial or other support for a foreign-
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                        terrorist organization;

                   1.   Evidence indicating how and when the email account was accessed or

                        used, to determine the geographic and chronological context of account

                        access, use, and events relating to the crimes under investigation and to the

                        email account owner;

                   m. Information indicating the email-account owner's state of mind as it

                        relates to the attempted provision of material support or resources to a

                        foreign-terrorist organization;

                   n. The identity of the person( s) who created, used, or deleted the email

                        account, including information that would help reveal the whereabouts of

                        such person;

                   o. The identity of any person(s) who communicated with the email account

                        about matters relating to foreign-terrorist organizations, and any records

                        related to the whereabouts of such persons;

                   p. Records indicating that data has been deleted by the account owner,

                        potentially to hide evidence of a crime; and

                   q. Account history (including Terms of Service and any complaints) and

                        billing records (including date, time, duration, and screen names used each

                        lihlc (he accou11ts were activated):

                   r.   The identity of the person(s) who created or used the user ID, including

                        records that help reveal the whereabouts of such person(s).

       This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence,
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fruits, and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




                                                                    /




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       CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS RECORDS
              PURSUANT TO FEDERAL RULE OF EVIDENCE 902(ll)


          I, - - - -- - - - - - - - -- ~ attest, under penalties of perjury under the

laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information

contained in this declaration is true and correct. I am employed by Microsoft, Inc., and my

official title is
                    ---------- - - -.                        I am a custodian of records for Microsoft,

Inc. I state that each of the records attached hereto is the original record or a true duplicate of the

original record in the custody of Microsoft, Inc., and that I am the custodian of the attached

records consisting of _ __ __ (pages/CDs/kilobytes). I further state that:

          a.        all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth, by, or from information transmitted by, a person with

knowledge of those matters;

          b.        such records were kept in the ordinary course of a regularly conducted business

activity of Microsoft, Inc.; and

          c.        such records were made by Microsoft, Inc., as a regular practice.

          I further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.



Date --                     . ---- ·· --~ ---Signature




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